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10                          UNITED STATES DISTRICT COURT
11                       SOUTHERN DISTRICT OF CALIFORNIA
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     IRVIN MUSGROVE,                                 Case No.: 3:20-cv-614-GPC-BLM
13
                                   Plaintiff,        ORDER GRANTING PLAINTIFF
14
                                                     LEAVE TO FILE BY ECF
15   v.

16   ANGIE HANIFIN, SUSANA SOTO,
     OCEANSIDE HOUSING
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     AUTHORITY,
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                                   Defendants.
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                                                     [ECF No. 5]
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           On April 27, 2020, pro se Plaintiff Irvin Musgrove filed a motion seeking leave
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     to use electronic filing. ECF No. 5. In order to be eligible for leave, Defendant “must
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     file a motion and demonstrate the means to do so properly by stating their equipment
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     and software capabilities in addition to agreeing to follow all rules and policies in the
27
     CM/ECF Administrative Policies and Procedures Manual.” See ELECTRONIC CASE
28

                                                 1                         3:15-cv-02440-GPC-WVG
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 1   FILING ADMINISTRATIVE POLICIES & PROCEDURES MANUAL (“THE MANUAL”) at 8,
 2   available at https://www.casd.uscourts.gov/cmecf.aspx#undefined2.
 3         Here, Plaintiff’s motion states that he has reviewed, and consents to abiding by,
 4   the requirements for e-filing. ECF No. 5 at 1. Plaintiff also attests that he has access
 5   to software and technology that would be required to file on the CM/ECF system. Id.
 6   In light of Plaintiff’s representations, the Court GRANTS Plaintiff leave to use
 7   electronic case filing. Plaintiff “must register as a user with the Clerk's Office and as
 8   a subscriber to PACER within five (5) days” of receiving notice of this Order. See
 9   THE MANUAL at 8.
10         IT IS SO ORDERED.
11         Dated: April 28, 2020

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